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                                                                     July 2, 2020

VIACM/ECF
The Honorable Janet C. Hall, U.S .D.J.
United States District Court
District of Connecticut
141 Church Street
New Haven, CT 06510

               RE:     Madej v. Yale University et al., No. 3:20-cv-00133-JCH

Dear Judge Hall:

       I represent plaintiff J akub Madej in this case. Pursuant to Your Honor's Standing Order on
Discovery, I submit this letter to request Court's assistance in determining the sufficiency of
defendants' response to the request for admission attached to this letter as Exhibit A.

        This dispute concerns request no. 14. The request called to admit that the Committee,
which plays a central role in this case, has no written procedures or policies. The request expressly
excluded the information known to the plaintiff, which was specifically identified in the request.
Plaintiff seeks to conclusively establish whether any other procedures or policies governing the
Committee exist.

        Yale responded that "the policies and procedures of the Committee on Honors and
Academic Standing are available at the three links noted", and that "there are no other publicly
available listings of the policies and procedures of the Committee on Honors and Academic
Standing". This response is wholly insufficient as it does not address the original statement at all.

        Defendants represent that some information is available at links provided. Without
addressing what that information is, these links were explicitly excluded from this request.
Similarly, nothing in the original statement referred to "publicly" available materials. Plaintiff
precisely propounded this request to establish whether any policies or procedures outside those
listed exist, in particular if they are not public.

       Yale's answer engages in word games by not admitting, denying, or objecting to the
request, or asserting lack of knowledge. The answering party must (i) admit the statement; (ii)
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specifically deny it, or (iii) state in detail why it cannot truthfully admit or deny it. Fed. R. Civ. P.
36(a)(4). The responding party should have no trouble responding to a request for admission
that is unambiguous, concise, and specific. 7 Moore's Federal Practice - Civil § 36.11 (2020).
Yale's response fails to comply with these straightforward requirements, and has tremendous
trouble responding to an unambiguous and fairly specific request.

         Despite multiple emails over three weeks intended to resolve this seemingly insignificant
dispute, counsel continually represented that defendants "do not agree that [their] responses are
deficient", and that "they believe they are appropriate". Counsel refused to make any other
statement, or provide more detailed answer to this request. Establishing whether these documents
exist is critical to establish additional factual basis for plaintiffs allegations. Am. Compl. 'f 'f 45-
50. An unambiguous answer would also obviate - or eliminate - the need to request these
documents under Fed. R. Civ. P. 34.

        For the reasons stated above, Plaintiff respectfully requests that the Court direct defendants
to provide an unambiguous answer to the request in question or, in the alternative, to deem the
original statement admitted.

       Finally, in light of Your Honor's ruling on defendants' motion (ECF # 120), plaintiff notes
for the record that he has not issued any testimonial subpoenas following the May 28 status
conference. This Court has clearly and unambiguously directed him not to do so. No purpose
would be served in violating this straightforward direction. Plaintiff has certified his compliance
under oath (ECF # 109-1).

       I appreciate Your Honor's consideration of Plaintiffs request.


                                                               Respectfully submitted,



                                                         J~M!;f,91
cc:    All Counsel of Record (via ECF)




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